Case 2:20-cv-01530-JWH-SHK Document 15 Filed 09/25/20 Page 1 of 5 Page ID #:3121




                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                              CIVIL MINUTES—GENERAL

      Case No.        2:20‐cv‐01530‐JWH‐SHK                                   Date: September 25, 2020
      Title: Michael Campbell v. Warden Rick Hill



  Present:          The Honorable Shashi H. Kewalramani, United States Magistrate Judge


                      D. Castellanos                                            Not Reported
                       Deputy Clerk                                            Court Reporter


         Attorney(s) Present for Plaintiff(s):                    Attorney(s) Present for Defendant(s):
                       None Present                                             None Present


  Proceedings:           (In Chambers) Order to Show Cause Why This Action Should Not be
                         Dismissed For Failure To Exhaust Ground Four


                                              I.      INTRODUCTION

          On February 10, 2020, Petitioner constructively filed1 a Petition for Writ of Habeas
  Corpus by a Person in State Custody (“Petition” or “Pet.”), under 28 U.S.C. § 2254 (“§ 2254”),
  challenging his 2018 conviction for second degree murder and an accompanying enhancement.
  Electronic Case Filing Number (“ECF No.”) 1, Pet. at 2. On February 21, 2020, the Court issued
  an Order Requiring Response to the Petition. ECF No. 4, Order. On June 16, 2020, Respondent
  Rick Hill, Warden of Folsom State Prison (“Respondent”), filed a Motion to Dismiss Case
  (“Motion”) with lodged documents. ECF Nos. 12‐13.

          Respondent’s Motion raises a single ground for dismissal: lack of exhaustion of the
  fourth ground raised in the Petition. ECF No. 12, Motion. Specifically, Respondent claims that
  Petitioner has not raised the fourth ground, regarding the allegedly improper rebuttal
  argument made by the prosecutor, with the California Supreme Court, which is required before
  such a ground can be raised in a § 2254 petition before a federal court or the accompanying


  1Under the “mailbox rule,” when a pro se prisoner gives prison authorities a pleading to mail to court, the
  Court deems the pleading constructively filed on the date it is signed. Roberts v. Marshall, 627 F.3d 768, 770
  n.1 (9th Cir. 2010) (citation omitted).

      Page 1 of 5                           CIVIL MINUTES—GENERAL              Initials of Deputy Clerk MC for DC
Case 2:20-cv-01530-JWH-SHK Document 15 Filed 09/25/20 Page 2 of 5 Page ID #:3122




  ineffective assistance of counsel claim based on trial counsel’s failure to object to the improper
  rebuttal argument. Id. at 1, 4‐7.

           Upon review of the, lodged, petition to the California Supreme Court that Respondent
  filed as well as a review of the various, publicly available databases, the Court is inclined to
  agree with Respondent’s position that Ground Four was not presented to the California
  Supreme Court. Therefore, the Court ORDERS Petitioner to SHOW CAUSE why the Petition
  should not be dismissed due to Petitioner’s failure to exhaust his state court remedies as to the
  fourth ground in the Petition. The Court directs Petitioner to review the information that
  follows, which provides additional explanation as to why the Petition appears to be subject to
  dismissal and may assist Petitioner in determining how to respond.

                                       II.     BACKGROUND

         Petitioner challenges his conviction under California Penal Code section 187(a)
  (“§ 187(a)”) (second degree murder) and a sentencing enhancement under California Penal
  Code section 12022(b)(1) (“§ 12022(b)(1)”) (use of a deadly weapon in the commission or
  attempted commission of a felony). ECF No. 1, Pet. at 2. According to the Petition, Petitioner
  was sentenced to fifteen years to life on the § 187(a) conviction with a one‐year enhancement
  under § 12022(b)(1). Id.

           Petitioner filed, what appears to be, a timely, direct appeal in which he raised the same
  four grounds for relief raised in the Petition. ECF No. 1, Pet. at 2‐6, 340‐443. Following an
  affirmance by the California court of appeal, and a request for re‐hearing, Petitioner sought a
  petition for review from the California Supreme Court (“Pet. for Review”). ECF No. 13‐15,
  Lodged Doc. 11, Pet. for Review. In that Pet. for Review, Petitioner raised three grounds, which
  match the first three grounds raised in the current Petition. See ECF No. 1, Pet. at 5‐6; ECF No.
  13‐15, Pet. for Review at 2‐3. Petitioner, however, did not raise the fourth ground raised in the
  current Petition: that the prosecutor committed misconduct as a result of the arguments raised
  for the first time during the prosecutor’s rebuttal argument and trial counsel was ineffective for
  failing to object to these improper arguments.

          Additionally, a search of the California appellate case website, last accessed on
  September 25, 2020, at https://appellatecases.courtinfo.ca.gov/search, and using Petitioner’s
  name, did not show that a state habeas matter was presented to the California Supreme Court.
  Consequently, it does not appear that the fourth ground for relief presented in the Petition has
  been presented to the California Supreme Court, either through a direct appeal or habeas
  petition.

                 III.   THE PETITION IS UNEXHAUSTED AND SUBJECT TO DISMISSAL

         State prisoners must exhaust their state court remedies before a federal court may
  consider granting habeas corpus relief. 28 U.S.C. § 2254(b)(1)(A); O’Sullivan v. Boerckel, 526
  U.S. 838, 842 (1999). To satisfy the exhaustion requirement, habeas petitioners must fairly

   Page 2 of 5                         CIVIL MINUTES—GENERAL           Initials of Deputy Clerk MC for DC
Case 2:20-cv-01530-JWH-SHK Document 15 Filed 09/25/20 Page 3 of 5 Page ID #:3123




  present their federal claims in the state courts in order to give the State the opportunity to pass
  upon and correct alleged violations of prisoners’ federal rights. Duncan v. Henry, 513 U.S. 364,
  365 (1995) (per curiam). Habeas petitioners must give the state courts “one full opportunity”
  to decide a federal claim by carrying out “one complete round” of the state’s appellate process
  in order to properly exhaust a claim. O’Sullivan, 526 U.S. at 845.

           To properly exhaust habeas claims, petitioners in California state custody must “fairly
  present” their claims in petitions to the California Supreme Court. Gatlin v. Madding, 189 F.3d
  882, 888 (9th Cir. 1999) (applying O’Sullivan to California). A claim has been fairly presented
  only if the petitioner has “indicated to the court that [the federal claims] were based on federal
  law.” Lyons v. Crawford, 232 F. 3d 666, 668 (9th Cir. 2000), amended, 247 F.3d 904 (9th Cir.
  2001). A claim is not exhausted where a state prisoner files a habeas petition with a court but
  later withdraws it from consideration. Fierro v. Domingo, No. CV 10‐9711‐GW (E), 2012 WL
  692211, at *3 (C.D. Cal. Feb. 28, 2012) (holding habeas claims unexhausted where a petitioner
  withdrew his California Supreme Court petition before the Court ruled on the merits).

          Here, though it appears that Petitioner raised the argument regarding the prosecutor’s
  allegedly improper rebuttal argument and trial counsel’s ineffective, failure to object to it with
  the California Court of Appeal, this argument was not raised in his Petition for Review before
  the California Supreme Court. See ECF No. 13‐15, Pet. for Review. The state courts, therefore,
  did not have a “full and fair opportunity to resolve federal constitutional claims before those
  claims [were] presented to the federal courts.” O’Sullivan, 526 U.S. at 839. Accordingly, at this
  time, Petitioner’s Petition appears to be mixed, meaning that one or more of the asserted
  claims is unexhausted, and subject to dismissal, without prejudice.

                                            IV.    ORDER

         Petitioner is therefore ORDERED TO SHOW CAUSE why the Petition should not be
  dismissed for failure to exhaust state remedies by filing a written response no later than
  October 26, 2020. Petitioner must respond to this Order pursuant to one of the options listed
  below.

           Option 1: Petitioner May Explain That The Fourth Ground In The Petition Is Exhausted:
  If Petitioner contends he has, in fact, exhausted his state court remedies on the fourth ground
  raised in his Petition, he should clearly explain this in a written response to this Order to Show
  Cause. Petitioner should attach to his response copies of any documents establishing that the
  fourth ground has been raised with and ruled on by the California Supreme Court.

         Option 2: Petitioner May Voluntarily Dismiss The Fourth Ground In The Petition
  Without Prejudice: Petitioner may request a voluntary dismissal of the fourth ground raised in
  the Petition. The Court advises Petitioner that if he elects to proceed now with only his
  exhausted claims, any future habeas petitions containing the fourth ground, or other grounds
  that could have been raised in the instant Petition may be rejected as successive or may be
  time‐barred.

   Page 3 of 5                         CIVIL MINUTES—GENERAL           Initials of Deputy Clerk MC for DC
Case 2:20-cv-01530-JWH-SHK Document 15 Filed 09/25/20 Page 4 of 5 Page ID #:3124




          Option 3: Petitioner May Request A Rhines Stay: Under Rhines v. Weber, 544 U.S. 269
  (2005), the District Court has discretion to stay a petition to allow Petitioner time to present his
  unexhausted claims to state courts, including the California Supreme Court. Id. at 276; Mena v.
  Long, 813 F.3d 907, 908 (9th Cir. 2016) (holding the Rhines stay‐and‐abeyance procedure
  applies to both mixed and fully unexhausted habeas petitions). This stay and abeyance
  procedure is called a “Rhines stay” and is available only when: (1) there is “good cause” for the
  failure to exhaust; (2) the unexhausted claims are not “plainly meritless”; and (3) the petitioner
  did not intentionally engage in dilatory litigation tactics. Rhines, 544 U.S. at 277‐78.

          Petitioner may file a motion for a Rhines stay and support his request by showing: (1)
  there is “good cause” for the failure to exhaust; (2) the grounds raised are not “plainly
  meritless”; and (3) Petitioner did not intentionally engage in dilatory litigation tactics. See id.
  Petitioner should include any evidence supporting his request for a Rhines stay.

            Option 4: Petitioner May Request A Kelly Stay: Under Kelly v. Small, 315 F.3d 1063,
   1070‐71 (9th Cir. 2003), if a petitioner dismisses a mixed petition’s unexhausted claims, the
   court may stay the petition’s remaining exhausted claim to allow the petitioner time to
   exhaust the unexhausted claims in state court. Id. at 1070‐71. This is called a “Kelly stay.”
   Unlike a Rhines stay, a Kelly stay “does not require that a petitioner show good cause for
   his failure to exhaust state court remedies.” King v. Ryan, 564 F.3d 1133, 1135 (9th Cir.
   2009).

           A Kelly stay involves a three‐step procedure: “(1) a petitioner amends his petition to
   delete any unexhausted claims; (2) the court stays and hold in abeyance the amended, fully
   exhausted petition, allowing the petitioner the opportunity to proceed to state court to
   exhaust the deleted claims; and (3) the petitioner later amends his petition and re‐attaches
   the newly‐exhausted claims to the original petition.” Id. (citing Kelly, 315 F.3d at 1170‐71).
   Thus, while “Rhines allows a district court to stay a mixed petition, and does not require that
   unexhausted claims be dismissed while the petitioner attempts to exhaust them . . . Kelly
   allows the stay of fully exhausted petitions, requiring that any unexhausted claims be
   dismissed.” Id. at 1139‐40 (emphasis in original) (citing Jackson v. Roe, 425 F.3d 654, 661
   (9th Cir. 2005)).

            While a Kelly stay does not require a showing of good cause, it requires compliance
   with the one‐year statute of limitations set forth in the Antiterrorism and Effective Death
   Penalty Act. 28 U.S.C. § 2244(d)(1). “A petitioner seeking to use the Kelly procedure will be
   able to amend his unexhausted claims back into his federal petition once he has exhausted
   them only if those claims are determined to be timely.” King, 564 F.3d at 1140‐41. After
   expiration of the limitation period, “a petitioner may amend a new claim into a pending
   federal habeas petition . . . only if the new claim shares a ‘common core of operative facts’
   with the claims in the pending petition; a new claim does not ‘relate back’ . . . simply because
   it arises from the ‘same trial, conviction, or sentence.’” Id. at 1141 (citation omitted).


   Page 4 of 5                           CIVIL MINUTES—GENERAL           Initials of Deputy Clerk MC for DC
Case 2:20-cv-01530-JWH-SHK Document 15 Filed 09/25/20 Page 5 of 5 Page ID #:3125




           Petitioner may file a motion for a Kelly stay and follow the three‐step procedure
           above.
   First, Petitioner must file a proposed notice voluntarily dismissing the fourth ground in the
   Petition. See id. at 1135. The Court will then stay and hold in abeyance the amended fully
   exhausted Petition containing only the exhausted first through third grounds and allow
   Petitioner the opportunity to exhaust the deleted fourth ground in state court. See id.

          Caution: Petitioner is cautioned that if he requests a stay, under Option 3, and the Court
  denies the request for a stay, or if Petitioner contends that he has in fact exhausted his state
  court remedies on all grounds, under Option 1, and the Court disagrees, the Court will dismiss
  the Petition as mixed and for failure to exhaust state remedies. Accordingly, Petitioner may
  select options in the alternative, which means that he can ask for Option 1, but if that is not
  met, he may also request Option 2 or Option 3.

          The Court expressly warns Petitioner that failure to timely file a response to this Order
  will result in the Court dismissing this action with prejudice for his failure to comply with
  court orders and failure to prosecute. Fed. R. Civ. P. 41(b).

        The Clerk of Court is directed to serve a copy of this Order on Petitioner at his current
  address of record.

          IT IS SO ORDERED.




   Page 5 of 5                         CIVIL MINUTES—GENERAL          Initials of Deputy Clerk MC for DC
